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UNITED STATES DISTRICT COURT
FOR
THE EASTERN DISTRICT OF VIRGINIA
U.S.A. vs. Doroth}; Ann Duff Docket No. 1:17P03307

Addendum to
Petition on Probation

Please allow the information below to be added to the Petition submitted to the Court on July lO, 2018,
and addendums submitted to the Court on July 20 and July 26, 2018.
CONDITION 7: USE OF PHENCYCLIDINE

Ai“`ter Court on July 31, 2018, Ms. Dut`f` reported to the Probation Office and submitted a urine specimen
which preliminarily tested positive for phencyclidine Contirmation has been requested and is pending

 

 

 

 

ORDER OF COURT I declare under penalty of perjury that the
lig/f foregoing is true and correct.
ConQrwe/dnod or ered his day
of y , Ol , that the petition Executed on
previousl issued be amended and that this oigi:anysignea bynandau§.
addendum be ordered filed and made part of w f ¢£- §§1:'2018_08_01 12:16;43
the record in the above case. '°"°°`
/-1 /Sl Randall E. Hyler
l ;,_T.hefesa Carroll BuCh&n&n Supervising U.S. Probation Officer
United States Maglstrate dodge 703_366_2101

 

The Honorable Theresa Carroll Buchanan
United States Magistrate Judge
Place Manassas Vir inia

 

